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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )       Case No. 4:11CR246 CDP-1
                                           )
JAMES C. SMITH(1),                         )
                                           )
       Defendant.                          )

                                          ORDER

       This matter is before the Court on defendant James C. Smith’s motions to

suppress evidence and to dismiss the indictment.1 As with the other pretrial

motions in this case, these motions were referred to United States Magistrate

Judge Frederick R. Buckles under 28 U.S.C. § 636(b). Judge Buckles received

briefs and heard evidence related to the motions. He then filed his Report and

Recommendation recommending that the motions be denied. Defendant Smith has

filed objections to each of Judge Buckles’ recommended rulings.

       I have conducted a de novo review of the motions, including reviewing all

briefs and transcripts and reviewing all evidence submitted at the hearing. I

conclude Judge Buckles properly found the facts from the evidence and properly


       1
        Defendant Smith has also filed a motion for severance and a motion to suppress evidence
obtained through electronic surveillance. They are dealt with in separate orders.
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applied the law to those facts. I will therefore adopt the factual findings, the

reasoning, and the legal conclusions reached by Judge Buckles.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge [#1000] is SUSTAINED, ADOPTED, and

INCORPORATED herein.

      IT IS FURTHER ORDERED that defendant James C. Smith’s motions to

suppress evidence [#313] and to dismiss the indictment [#316] are denied.



                                        ____________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE


Dated this 15th day of October, 2012.




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